                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                       )
                                               )        Case No. 1:16-cr-20
v.                                             )
                                               )        Judge Travis R. McDonough
NICOLE ROBERTS                                 )
                                               )        Magistrate Judge Christopher H. Steger
                                               )


                                            ORDER



       On September 14, 2016, United States Magistrate Judge Christopher H. Steger filed a

Report and Recommendation recommending: (a) the Court accept Defendant’s plea of guilty to

Count One of the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in

Count One of the Indictment; and (c) Defendant remain in custody pending sentencing in this

matter. (Doc. 51.) Neither party filed an objection within the allotted fourteen day period. After

reviewing the record, the Court agrees with Judge Steger’s Report and Recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the Report and Recommendation pursuant to

28 U.S.C. § 636(b)(1). It is therefore

       ORDERED:

           1. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

           2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of

               the Indictment; and

           3. Defendant SHALL REMAIN IN CUSTODY pending sentencing on December

               16, 2016, at 2:00 p.m.




Case 1:16-cr-00020-TRM-CHS           Document 54       Filed 10/13/16     Page 1 of 2      PageID
                                           #: 206
ENTER:

                                   /s/Travis R. McDonough
                                   TRAVIS R. MCDONOUGH
                                   UNITED STATES DISTRICT JUDGE




                                     2
Case 1:16-cr-00020-TRM-CHS   Document 54    Filed 10/13/16   Page 2 of 2   PageID
                                   #: 207
